Case 1:22-cv-01130-PTG-WEF Document 1-1 Filed 10/05/22 Page 1 of 23 PageID# 5




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division



DORA L. ADKINS,
P.O. BOX 3825
MERRIFIELD, VA 22116
               Plaintiff (pro se),

      V.                             CIVIL ACTION NO.:

FITNESS INTERNATIONAL, LLC                          l'. 22C.I/ lf30
Registered Office Address:
C T CORPORATION SYSTEM
4701 Cox Rd Ste 285
Glen Allen, VA, 23060 - 6808, USA
                  Defendant.


                        EMERGENCY COMPLAINT

      COMES NOW the Plaintiff, Dora L. Adkins, pro se, provide an

"Emergency Complaint," against the Defendant, Fitness International, LLC.

The Emergency Complaint include Count #1: Intentional Infliction of

Emotional Distress; and a Claim for Punitive Damages as a Prime

Facie Case Cause of Action, states as follows:

                           DIVERSITY JURISDICTION


      This Court enjoys subject matter jurisdiction over this action under 28

U.S.C. §1332(a)(1) because the Plaintiff, Dora L. Adkins resides in the

State of Virginia; specifically. Fairfax County and Defendant's Principal
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Office is located in IRVINE, CA, 92612 - 0000, USA, which makes the two

parties' citizens of different states and the amount in controversy exceeds

$75,000. Specifically, Dora L. Adkins resides in Fairfax County with a

mailing address of P.O. Box 3825, Merrifield, VA 22116 and the

Defendant, Fitness International, LLC.'s Principal Office is located at 3161

MICHELSON DR., STE. 600, IRVINE, CA, 92612 - 0000, USA.(EXHIBIT

#1: See, Copy of Business Entity Details for Fitness International, LLC.,

Proof of Diversity). The Diversity of citizenship between the Plaintiff, Dora

L. Adkins and the Defendant, Fitness International, LLC is completely

different; as well as the amount in controversy is for $350,000 Dollars and

this Honorable Court holds jurisdiction over the Complaint.

      Plaintiff is asking for in Count #1: Intentional Infliction of Emotional

Distress-THREE-HUNDRED-MILLION DOLLARS; and a Claim for

Punitive Damages - THREE-HUNDRED- MILLION DOLLARS, a total of

SIX-HUNDRED-MILLION DOLLARS (600-MILLION DOLLARS). The in-

controversy amount for Punitive Damages is $350,000. As a matter of law.

Plaintiff established she has suffered an extreme & debilitating injury of

emotional distress damages that satisfy the $75,000 amount in

controversy limit. Virginia cap on punitive damages. ... Virginia statute §

8.01-38.1 places a cap of $350,000 on punitive damages courts may award
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to punish wrongdoers. Plaintiff will use the Virginia cap on punitive

damages to meet the $75,000 requirement for the amount in

controversy limit.

INTRODUCTION TO PRIMA FACIE CASE:

   1. Plaintiff entered into a Contract with the Defendant, Fitness

International LLC., on August 13, 2021. Plaintiff have been going to the

following four LA/Fitness gyms since August 2021 and/or Year and a Half,

when not staying in a hotel.(EXHIBIT #2: See, Copy of Plaintiff's Contract

with Defendant, Fitness International LLC).

LA/Fitness - Herndon, VA
Located in: Herndon Centre
Address: 494 Elden St, Herndon, VA 20170
Phone:(571)500-5730
LA/Fitness - Arlington, VA
Located in: National Gateway
Address: 3550 8 Clark St, Arlington, VA 22202
Phone:(703)229-1504
LA/Fitness - Springfield, VA
Located in: Springfield Town Center
Address: 6565 SPRINGFIELD MALL, Springfield, VA 22150
Phone:(703)682-2861
LA/Fitness - Alexandria, VA
Located in: Plaza at Landmark
Address: 6200 Little River Turnpike, Alexandria, VA 22312
Phone:(703)637-2204
   2. Plaintiff started using the LA/Fitness gym in August 2021, for a
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shower ONLY when Plaintiff was not living in a hotel because Plaintiff have

been Homeless since starting in the Year 2005.

   3. In the month of September 2022, Plaintiff mostly used the L/A/Fitness

gym located in Herndon, VA because this particular LA/Fitness gym is the

newest out of the four gyms located in Northern VA. Plaintiff's vehicle was

sprayed with chemical poisoning three-times in September 2022 after

Plaintiff saw an employee for the LA/ Fitness gym park his vehicle not far

from where Plaintiff parked Plaintiff's vehicle. Plaintiff carefully chose the

parking area to prevent Plaintiffs vehicle from becoming damaged from

door dents, scratches, and etc., from other vehicles.

PRIMA FACIE CASE:


FACTS OF THE COMPLAINT:

   4. It is a fact that Plaintiffs vehicle became sprayed with a chemical

poisoning while parked at the L/A/Fitness gym located in Herndon, VA

because Plaintiff cleaned the windows on the vehicle 4-8 times per-day and

one of the times is just before going to the LA/Fitness gym located in

Herndon, VA for a daily shower..

   5. It is a fact that that Plaintiff's vehicle became sprayed with chemical
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poisoning because Plaintiff immediately became ill after re-entering

Plaintiffs vehicle with an extreme and debilitating migraine headache after

taking a shower.

   6. It is a fact that Plaintiff immediately took Plaintiffs vehicle to Embassy

Autowash located at 20900 Pidgeon Hill Drive, Herndon, VA 20170; phone

number 703-444-0862. The Manager for Embassy Autowash carefully

examined Plaintiffs vehicle and found the chemical poisoning all over

Plaintiffs vehicle including all of the windows; the sunroof; the hood; and/or

all paint surfaces of Plaintiffs vehicle. The Manager of Embassy Autowash

agreed to wash Plaintiffs vehicle costing $30.00 for no charge to Plaintiff.

The Manager explained to Plaintiff that the car wash would not remove the

stains left from the chemicals as well as that not even buffing the paint

surfaces would remove the chemical poisoning substances from Plaintiffs

vehicle. Plaintiffs vehicle was washed by Embassy Autowash and just as

the Manager had informed the Plaintiff the stains were not removed but the

smell of the chemicals already inside Plaintiffs vehicle and back on the

Plaintiff even though Plaintiff just showered were washed away from the

exterior of the vehicle and the smell of chemicals were diminished BUT

REMAIN BECAUSE THE CHEMICAL POSIONINQ SUBSTANCE IS IN
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 THE LEATHER SEATS OF PLAINTIFF'S VEHICLE AND/OR HAS

SETTLED ON EVERYTHING INSIDE PLAINTIFF'S VEHICLE.

    7. It is a fact that Plaintiffs vehicle was sprayed a second time with a

 chemical poisoning while parked at the LA/Fitness gym located in Herndon,

 VA. Plaintiffs contact with the chemical poisoning immediately made the

 Plaintiff ill. Plaintiff went to the Mr Wash Car Wash located at 101 N Glebe

 Rd, Arlington, VA 22203; whereby, Plaintiff previously had a cash wash

 membership with Mr Wash Gar Wash. A manager for Mr. Wash Car Wash

 agreed to wash Plaintiffs vehicle costing $30.00 at no charge to the

 Plaintiff.


    8. Plaintiffs vehicle was sprayed a third time with chemical poisoning

 while parked at the LA/Fitness gym located in Herndon, VA with an

 unknown chemical poisoning substance. The Manager for Mr Wash Car

 Wash located at 420 S Van Dorn St, Alexandria, VA 22304; Phone:(703)

 751-4138; agreed to provide Plaintiff with a complimentary $30.00 carwash,

 at no charge.

    9. This Emergency Complaint allege Claims for chemical poisoning

 sprayed directly onto Plaintiffs vehicle; being provided dirty and stained

 bath towels; constant unwanted cell photos taken of the Plaintiff in the

 Women Locker Room; a nude photo of Plaintiff while showering in the
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 Shower Room for Women; and a male custodian walking and/or cleaning in

 the Shower area; whereby, the custodian saw Plaintiff in just a towel; and

 one day later the same custodian acting as a Front Desk Representative

 for the sole purpose of getting Plaintiffs personal information.

 COUNT #1: ELEMENTS FOR INTENTIONAL INFLICTION OF
 EMOTIONAL DISTRESS AND FACTS TO SUPPORT INTENTIONAL
 INFLICTION OF EMOTIONAL DISTRESS:

 ELEMENTS FOR INTENTIONAL INFLICTION OF EMOTIONAL
 DISTRESS:

   • Extreme or outrageous conduct that
   • Intentionally or recklessly causes
   • Severe emotional distress (and possible also bodily harm)

 FACTS TO SUPPORT INTENTIONAL INFLICTION OF EMOTIONAL
 DISTRESS:

 Extreme and Outrageous Conduct:


    10.       Plaintiff realleges paragraphs 1 through 9 as though fully

 set forth herein.


    11.       The Defendant, Fitness International LLC, extreme and

 outrageous conduct began when Plaintiff returned to Plaintiffs vehicle to

 find a chemical poisoning sprayed all over Plaintiffs vehicle and caused

 Plaintiff an immediate extreme and debilitating migraine headache.

    12.       The Defendant, Fitness International LLC, extreme and
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 outrageous conduct forced the Plaintiff to return to Arlington, VA located

 whereby daily cleaning of the Women showers and Women Locker room is

 not performed.

    13.       The Defendant, Fitness International LLC, extreme and

 outrageous conduct at the LA/Fitness gym located at Arlington, VA focused

 Plaintiff back to the LA/Fitness gym located in Herndon, VA when Plaintiff

 was provided two dirty bath towels that were heavily stained and with lint

from the dryer on the bath towels. Plaintiff personal information which

 included Plaintiffs full name, telephone number, and email address was

 allowed to be provided to the custodian for the LA/Fitness gym located at

 Arlington, VA, while the individual trained to check in its customers stood

 nearby behind the counter. The same custodian came into the Women

 Locker Room Shower area while Plaintiff ONLY had a towel wrapped

 around Plaintiff.


    14.       The Defendant, Fitness International LLC, extreme and

 outrageous conduct includes not properly trained employees who spend

 time socializing at the Front Desk instead of readying bath towels for its

 customers.


 I ntent/Recklessness:


    15.        Plaintiff realleges paragraphs 1 through 9 as though fully
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set forth herein.


    16.         In addition to acting in an extreme an outrageous manner,

 Defendant, Fitness International LLC, acted with intent or

 recklessness because the alleged employee referenced to in a previous

 lawsuit against Fitness International LLC, was allegedly the employee seen

 by the Plaintiffs parked vehicle in the parking spaces near LA/Fitness,

 Herndon, VA.

    17.         Defendant, Fitness International LLC, acted with intent or

 Recklessness because since Plaintiff return from the LA/Fitness gym

 located at Arlington, VA Plaintiffs vehicle have not been sprayed with

 chemical poisoning. After Plaintiff sent the following letter to the Court a

 Police Officer from Herndon, VA was parked in the LA/Fitness gym located

 in Herndon, VA parking lot, which was consoling to the Plaintiff and may

 have set up an immediate deterrent from such criminal action of the

 chemical poisoning being sprayed onto Plaintiffs vehicle.

    18.         Severe Emotional Distress:


    19.      Plaintiff realleges paragraphs 1 through 9 as though fully set

forth herein.


    20.         In the Plaintiffs claim for Intentional Infliction, the Plaintiffs
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 Emotional Distress in response to extreme and outrageous behavior

 reached a "severe" level. Plaintiff can prove an injury that the Emotional

 Distress she experienced reached a sufficient level of severity, which

 justifies an award for Intentional Infliction against the Defendant, Fitness

  International LLC, because Plaintiff became severely ill from inhaling the

  unknown chemical poisoning from inside Plaintiffs vehicle and the possible

 contact onto Plaintiffs skin and Plaintiffs vehicle is damaged to the point

 that ONLY a complete paint job would be required to remove the stains

 from the paint completely and the windshield may need complete

  replacement according to the Manager at the Embassy Autowash.

    21.        The Plaintiff can prove an injury that the Emotional Distress

  Plaintiff experienced reached a sufficient level of severity, which justifies an

  award for Intentional Infliction against Defendant, Fitness International LLC.

  The wanton and willful conduct was caused by the following: Plaintiff is in

  an EMERGENCY because the unknown chemicals sprayed onto Plaintiffs

  vehicle cling to Plaintiffs hair, skin, and cloths and has caused serious

  problems for the Plaintiff in an attempt to rid the chemicals for it to be

  repeated three-times by the criminal(s).

     22.       Plaintiff did not realize the gravity of the physical injuries and




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 the emotional distress until Plaintiff realized Plaintiff is highly allergic to the

 chemicals and the cause of a nightmare EMERGENCY.

    23.       The intensity and duration of the emotional distress also

 contribute to Plaintiff's severity, in that, Plaintiff become bed-ridden with no

  bed to recover in in this case from living directly outdoors and/or out of

 commission when Plaintiff suffered severe Migraine Headaches, vomiting

  and rector bleeding from getting rid of the Migraines caused from the

  inhalation of chemicals.

    24.        Defendant, Fitness International LLC, alleged "wrongdoer had

  specific purpose of inflicting emotional distress or where he intended his

  specific purpose of inflicting emotional distress would likely result," because

  of the following reasons: Plaintiff knows no one at the LA/Fitness gyms and

  have not done anything to anyone to cause the CRIME and all of the

  WRONGS alleged in number 9 to be committed against the Plaintiff.

     25.       Defendant, Fitness International LLC, alleged "liability has

  been found where the conduct has been so outrageous in character, and

  so extreme in degree, as to go beyond all possible bounds of decency, and

  to be regarded as atrocious, and utterly intolerable in a civilized

  society," because of the following reasons: Who build a business and not

  maintain the business for safety and Health of its members and employees

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 because Plaintiff ALLEGED and/or reported similar claims to the Front

 Desk of the following: being provided old and smelly bath towels; constant

 unwanted cell photos taken of the Plaintiff in the Women Locker Room; and

 a male custodian walking and/or cleaning in the Shower area of the

 Women Locker Room and Shower that once prevented Plaintiffs use of the

 Shower at the Arlington LA/Fitness gym.

 CLAIM #1: ELEMENTS FOR PUNITIVE DAMAGES AND FACTS TO
 SUPPORT PUNITIVE DAMAGES:

  ELEMENTS FOR PUNITIVE DAMAGES:

    26.          Plaintiff realleges paragraphs 1 through 9 as though fully set

 forth herein.


    27.          Punitive Damages may only be awarded where there is

  misconduct or actual malice, or such recklessness or negligence as to

  evince a conscious disregard of the rights of others. Giant of Virginia v.

  Pigg, 207 Va. 679, 685-86 (1967)."

     28.         All of the elements for Punitive Damages were met by the facts

  in Plaintiffs Emergency Complaint that Claims Chemical poisoning being

  sprayed on Plaintiffs vehicle and the three managers who witnessed the

  unknown chemical poisoning directly after the chemical poisoning was

  sprayed on Plaintiffs vehicle in the LA/Fitness gym parking spaces, located

  in Herndon, VA.

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    29.        Defendant, Fitness International LLC, misconduct, or actual

  malice, or such recklessness or negligence evinced a conscious disregard

  of the rights of Plaintiff while using the Women Shower at the LA/Fitness

  gyms located in Herndon, VA and Arlington, VA.

    30.       Defendant, Fitness International LLC, misconduct, or actual

  malice, or such recklessness or negligence evinced a conscious disregard

  because of its failure to post signs into the Women Locker Room regarding

  women taking cell-telephone photos of the Plaintiff in general and definitely

  not nude photos of another customer using the LA/Fitness gym. No

  notification to the Plaintiff was provided that a male custodian would be

  cleaning the Women Locker Room and/or Shower area.

                                  SUMMARY:


     31.       Plaintiff was subjected to actual malice, or such recklessness

  or negligence as to evince a conscious disregard of the rights of Plaintiff

  with intentional harmful and unlawful and/or criminal actions. The

  Defendant, Fitness International LLC, allegedly caused Plaintiff an

  Emergency when chemical poisoning was sprayed onto Plaintiff's vehicle;

  not to mention the extensive and expensive damages caused to Plaintiff's

  vehicle.


     32.         WHEREFORE, this Plaintiff claims SIX-HUNDRED-


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  MILLION DOLLARS (600-MILLION DOLLARS), and whatever else this

  Honorable Court deems appropriate.

                                    Respectfully Yours,




                                    Dora L. Adkins, pro se




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                                ADDENDUM


                        COMPENSATORY DAMAGES:



  1.    "In accord with the foregoings, Plaintiff claim damages against
  Defendant, Fitness International LLC, as follows:"
 A. Compensatory Damages: TOTAL = $782.00
 (i)  Cost for Medicine for Migraine Headaches $7.00.(NOT INCLUDED)


  Note: The Plaintiff reserves the right to amend the compensatory (which
  was not added in) and the amounts for Intentional Infliction of Emotional
  Distress; Gross Negligence; and for Punitive Damages as a Prima
  Facie Case.


  B.    DAMAGES: Count #1: Intentional Infliction of Emotional Distress -
  THREE-HUNDRED MILLION DOLLARS; and a Claim for Punitive
  Damages- THREE-HUNDRED MILLION DOLLARS, a total of SIX-
  HUNDRED MILLION DOLLARS).
  Damages - means the amount of compensation the Plaintiff is seeking
  in Count #1: Intentional Infliction of Emotional Distress; and a Claim for
  Punitive Damages as a Prima Facie Case.



                               JURY DEMANDED

  2.    Trial by jury is demanded.

              WHEREFORE, Plaintiff demands judgment against the

  Defendant, Fitness International LLC, in the TOTAL amount of SIX-

  HUNDRED MILLION DOLLARS: Count #1: Intentional Infliction of

  Emotional Distress - THREE-HUNDRED MILLION DOLLARS; and


                                        15
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  a Claim for Punitive Damages-THREE-HUNDRED MILLION DOLLARS, a

  total of SIX-HUNDRED MILLION DOLLARS (600-MILLION DOLLARS); as

  a Prima Facie Case and/or whatever else the Court deem appropriate.

  Respectfully Yours,




  Dora L. Adkins, pro se

  Dora L. Adkins
  P.O. Box 3825
  Merrifield, Virginia 22116
  DoraAdkins7@aol.com
  No Telephone


  Note: There is no way to contact the Plaintiff; except, by U.S. Mail to the
  above address because there is no working telephone number(s)to
  provide.




                           CERTIFICATE OF SERVICE:

        I certify that on October 5, 2022, I filed a "Motion for Leave from the

  Court to File an Emergency Complaint," and a Copy of the Emergency

  Complaint," for the Court's review along with the listed Exhibits against the

  Defendant, Fitness International LLC.

  REGISTERED OFFICE ADDRESS:
  FOR: FITNESS INTERNATIONAL, LLC

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  Registered Office Address:
  C T CORPORATION SYSTEM
  4701 Cox Rd Ste 285
  Glen Allen, VA, 23060 - 6808, USA

  PRINCIPAL OFFICE ADDRESS:
  3161 MICHELSON DR., STE. 600
  IRVINE, CA, 92612 - 0000, USA

  PHYSICAL ADDRESS:
  LA/Fitness - Herndon, VA
  Located in: Herndon Centre
  Address: 494 Elden St, Herndon, VA 20170
  Phone:(571)500-5730
  LA/Fitness - Arlington, VA
  Located in: National Gateway
  Address: 3550 S Clark St, Arlington, VA 22202
  Phone:(703)229-1504
  LA/Fitness - Springfield, VA
  Located in: Springfield Town Center
  Address: 6565 SPRINGFIELD MALL, Springfield, VA 22150
  Phone:(703)682-2861
  LA/Fitness - Alexandria, VA
  Located in: Plaza at Landmark
  Address: 6200 Little River Turnpike, Alexandria, VA 22312
  Phone:(703)637-2204




                                             Respectfully Yours,




                                            Dora L. Adkins, pro se




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                                     EXHIBITS:


  EXHIBIT #1: See, Copy of Business Entity Details for Fitness International
  LLC, Proof of Diversity

  EXHIBIT #2: See, Copy of Plaintiff's Contract with Defendant, Fitness
  International LLC




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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                                 Alexandria Division



  DORA L. ADKINS,
          Plaintiff,{pro se)


          V.      Civil Action No.:
                                                      U0O
  FITNESS INTERNATIONAL, LLC
          Defendant.


                                               CERTIFICATION


  I declare under penalty of perjury that:
  No attorney has prepared or assisted in the preparation of this document.
  Dora L. Adkins

  Name of Pro Se Party (Print or Tvpe)
  Executed on October 5. 2022(Date)



                                                     OR




  Dora L. Adkins

 (Name of Attorney^

  No Telephone Number
 (Telephone Number of Attornevl
  Prepared or assisted in preparation ofthis document.

  Dora L. Adkins

  Name of Pro Se Party (Print or Type)




  Signature of Pro Se Party (Print or Type")
  Executed on October 5. 2022(Date)




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Entity Information


 Entity Information

                                       Entity Name: Fitness International, LLC
                                           Entity ID: T0252496

                                        Entity Type: Limited Liability Company
                                       Entity Status: Active
                                         Series LLC: No
                                  Reason for Status: Active

                                    Formation Date: N/A
                                        Status Date: 08/21/2017

                              VA Qualification Date: 07/29/2004
                                 Period of Duration:    Perpetual
                                     Industry Code: 0 - General
                            Annual Report Due Date: N/A
                                        Jurisdiction: CA
                                        Charter Fee: N/A

                       Registration Fee Due Date: Not Required



 Registered Agent Information

                                           RA Type: Entity
                                            Locality: HENRICO COUNTY
                                   RA Qualification: BUSINESS ENTITY THAT IS AUTHORIZED TO
                                                        TRANSACT BUSINESS IN VIRGINIA

                                             Name: C T CORPORATION SYSTEM
                       Registered Office Address: 4701 Cox Rd Ste 285, Glen Allen, VA, 23060 - 6808,
                                                        USA




 Principal Office Address

              Privacy Policy (https://ww\A^^j:^v^rginia.gov/privacy.aspx)    Contact Us
                                                       i/zslU/^lly
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3161
- 0000, USA    (https://www.facebook.comA/irginiaStateCorporationCommission)
               — ~               ~(https://twitter.com/VAStateCorpComm)


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            Case 1:22-cv-01130-PTG-WEF Document 1-1 Filed 10/05/22 Page 22 of 23 PageID# 26
                                                                 BARCODE QRYQSAX05HM                          agtno          QRYQ8AX05HM1356                                                MEMBERSHtP AGREEMENT


LA}^FITNESS.                                                     NAME:Adkins, Dora
ADDRESS;P.O.box 3825 merrifieid, Merrifieid, VA, 22116                                                                                                             E-MAIL doraadkins7@aol.eom
BUSINESS PHONE-                                                  HOME PHONE:                                                                                       CELLOTHER PHONE: 703-751-8653
                            immediate family members INCLUDEO ON MEMBERSHIP MUST LIVE AT THE SAME ADDRESS AND USE THE SAME SOURCE OF PAYMENT MEMBER(MAX 4)
                                                                      #2SAM/FAG;                                                                          #3 SAM/FAG;

                                                               AUTHORIZED INITIAL PAYMENTS (MorchantAccl.No; 000174133662992 )                                                        PROGRAM FEATU RES
                     PAYMENTS
                                                               Date        Pay Type              Acct. No.              Auth.No.           Amount(USD)              D Limited Access(tl chedred. no enuy/access allef4X)0pm,Mon-Thu(s.)
                                                                                                                                                                    0GUEST PRIVILEGES: 1 /dav                         $ 0.00
Initiation Fee                              $         0.00      B/13/2021             Visa                2732                  053568             S 99.98
                                                                                                                                                                    □ oPENFrrBYWF                                     i
First & Last Months' Dues                   $      99.98
                                                                                                                                                                                                                      % 0.00
Subtotal                                    $         99.98                                                                                                          0 RACQUETBALL
                                                                                                                                                                                                                      S 0.00
Sales Tax                                   $          0.00                                                                                                          0 TOWEUSERVICE
                                                                                                                                                                                                                      $
Total initial Payment Due                   $         99.98                                                                                                          □ KID'S KLUB
                                                                                                                                                                                                                      $
Initial Payment Collected                   $         99.98                                                                                                          □ parking
                                                                                                                                                                                                                      $
Balance Due on Initial Payment              $          0.00                              * AvailzUe only to FAO/SAM Mon)l)er(s) spocitied in separate agroemenl.     □ RECIPROCAL ACCESS
                                                                                                                                                                                       Si gnature
Monthly Payment Amount $.       49.99           N/A    %tax)      INITIAL TERM OF AGREEMENT:                    Months MEMBERSHIP TYPE:                                                                                        It.

AnnualFeeS       19-00 u       N/A % tax) Starting 10-13-21                                                                         TERMINATION FEE:                      49.00                 kCMaeiVCUVERHriALS;



Parties: This Membership Agreement (the "Agreement^ is between                                        ntnesa international, llc                                    ("laf" or LA Fitness) and you, the undersigned
Buyer (individually, if you are the Member, and/or as agent or guardian of the Member or responsible party, "Member" or "Buyer"). It is agreed that you are purchasing a
Membership from LAF according to the terms on all pages of this Agreement. Buyer further agrees that this Agreement is for the Initial Term identified below and to
the use of an electronic signature by Buyer to this Agreement. Notice to Buyer: You are entitled to a copy of this Agreement at the time you sign it.
                                                                                                              ANNUAL                    FINANCE           AMOUNT FINANCED / TOTAL THE TOTAL SALE PRICE: The
INITIAL TERM ACKNOWLEDGEMENT The initial term of this Agreement is for                                                                                    OF PAYMENTS: The amount                  total price, through the required
 6 Months (Initial Term"), starting               08-13-2021          and ending 02-13-2022             _n    PERCENTAGE                CHARGE:
                                                                                                                                                       you will have paid, including tax (if       Initial Term only, of your
                                                                                                              RATE:                     The      dollar
will AUTOMATICALLY CONTINUE in monthly increments after this Initial Term, with                                                         amount the
                                                                                                                                                       any] (but excluding the Initial             purchase on credit, including tax
the same automated monthly billing amount (including any fees for features your credit as ofa                 The cost
                                                                                                                                        credit
                                                                                                                                                       Payment) after you have made all
                                                                                                                                                  will scheduled payments for the Initial
                                                                                                                                                                                                   (if any) and your Initial Payment
checked above, "Dues"), and Annual/Semi-Annual Fee, charged via EFT/CC to your yearly rate.                                             cost you.                                                  of$ 99.98
                                                                                                                                                       Term.
Account, until you send written, notice of cancellation, recommended via certified                                                                                   4;   248.96                           Total Cost:$ 348 . 94
                                                                                                                       0%                   $0.00
mail, to P.O. Box 54170 Irvine, CA 92619. See page 2 for details,
Late Charge— Payments received more than ten (10) days after the due date Prepa^erTt— There is no prepayment charge See   the Agreement for any additional Intormation
may be assessed the maximum late charge authorized by law                              applicable to this Agreement.regarding non-payment, default, and penalties

 Minimum PavmentSchedule: 4 ER/CC Payments of $4 9 . 99» o-oo% tax are due every month starting 09-"-21. An                                                                                             ^                            5
 be billed for you, and If indicateJabove for each attached FAQ/SAM member, every 12 months starting on each of the dates set forth above, UNTIL YOU CANCEL
 •EFT/CC Reauest: To the extent permitted by law, you authorize us to initiate separate charges from the bank or credit card ("EFT/CC") account you identified^or
 ("Account") for the foilowing: (1) the Balance Due on Initial Payment above, if not paid within 60 days of the date hereof; (2) your recurring monthly Dues (Monthly Payment Amount) both dunng
 the initial Term and thereafter; (3) each Annual Fee identified above, if applicable; (4) a monthly or l-time freeze fee if you request, and we permit, a freeze of your Memberstjip pnvileges; (5) a
 return fee up to S10 (or any EFT/CC or other charge returned unpaid; (6) if you default as set forth on page 2, a fee equal to the lesser of (a) 50% of any remaining unpaid balance due over the
 Initial Term or (b) the TERMINATION FEE above; and (7) any other fee for personal training services or other goods/services we provide you from lime to time if you instmcl us to bill the^^e
 to your Account on file, as authorized by you at that time. Authorized EFT/CC payments may be separately initiated or. to the extent permitted by law, combined with other authorized ER/CC
 oayments. You have the right to receive notice if a preauthorlzed charge varies from the previous amount. If tax rates change to alter such a charge, Including due to a transfer of
 your membership, you consent to receive notice only If the charge varies by more than 10%. You may cancel your ER/CC authorization by giving us wntten notice of termination. It will
 take effect after we have had a sufficient time to allow us and your financial institution, using commercially reasonable efforts, to act on the notice. You agree to give us notice if your b^jng or
 Account information changes and you authorize us to seek and obtain information about changes In Account numbers and status from third parties, such as your bank or our credit card
 processor. If you decide to change your billing information, a 30-day notice may be required. Charges may change if features, or FAG or SAM Members, are added or dropped, as you authonze
 at such time, with a receipt or other writing serving as verification of such authorization.
NOTICE- ANY HOLDER OF THIS CONTRACT OR NOTE IS SUBJECT TO ALL CLAIMS AND DEFENSES WHICH THE
DEBTOR COULD ASSERT           THE SELLER OF GOODS OR SERVICES OBTAINED WITH THE PROCEEDS HEREOF.
RECOVERY HEREUNDER BY THE DEBTOR SHALL NOT EXCEED AMOUNTS PAID BY THE DEBTOR HEREUNDER.
BUYER'S RIGHT TO CANCEL: If vou wish to cancel this contract, you may cancel by making or delivering written notice
to this health club. The notice must say that you do not wish to be bound by the contract and must be delivered or
mailed {recommended certified or registered, return receipt requested) before midnight of the third business day after
you sign this contract (business days exclude Sundays and legal holidays). The notice must be delivered to the      of
enrollment or mailed to LA Fitness P.O. Box 54170, Irvine, CA 92619-4170. If canceled within 3 business days, you will be
entitled to a refund of ail moneys paid. You may also cancel this contract if this club goes out of business or relocates
and falls to provide comparable alternate facilities within five driving miles of the facility designated in this contract. You
may also cancel if you become physically unable to use a substantial portion of the health club services for 30 or more
consecutive days, and your estate may cancel in the event of your death. You must prove you are unable to use a
substantial portion of the health club services by a doctor's, physician assistant's, or nurse practitioner's certificate, and
the health club may also require that you submit to a physical examination, within 30 days of the notice of cancellation,
by a doctor, physician assistant, or nurse practitioner agreeable to you and the health club. If you cancel after the 3
business days, the health club may retain or collect a portion of the contract price equal to the proportionate value of the
services or use of facilities you have already received. Any refund due to you shall be paid within 30 days of the effective
date of cancellation.                                                                                                                                                                                      t*u- a                         ♦
Buyer hereby consents to the use of an electronic signature to record Buyer's cornmitment to the terms of this Agreement.
Club of onroIliTHint address: 494 ELDEN STREET, HERNDON, VA, 20170
                                                                              Adkins, Dora
                                                                              03:30:12 PM 08-13 2021 ( 04WOMT)


                                                                                                                                                8/13/2021                                8/13/2021

LA= EMPLOYEE ID NUMBER               2007029                                                 MEMBERBUYER SIGNATURE                             SIGNED                         AGREEMENT DATE (STARTDATE)
NOTICE: This Agreement is authorizing a RECURRING TRANSACTION. Also, when you provide a check as payment under this Agreement, you authorize U Fitness either to use mtonnation frotn yo"[ Creek to make a
one-time electronic fund translcr Irom that checking account or to process the payment as a check transaction. When LA Fitness uses information rom your check to make f electronic fund
withdrawn from the account on which the check is drawn as soon as the same day U Fitness receives your payment and you will not receive your check back Irom your financial Institution.
  VA FIT 4/21                                                                                P29® 1 0' ^                                                                                                                        HERNDON
                Case 1:22-cv-01130-PTG-WEF Document 1-1 Filed 10/05/22 Page 23 of 23 PageID# 27
other Terms and Conditions.
 ■ You (individually, if you are the Member, and as agent and/or guardian of Member) agree that Member, and Member's family members, and any
   guests and invitees shall be bound by this Agreement and the LAF Membership Policies and Club Rules and Regulations provided herewith for the
   usage of lAF club facilities. You agree that the Membership Policies and Club Rules and Regulations may be revised, supplemented or amended in
   the sole and absolute discretion of LAF and any such changes shall become immediately effective upon posting in the LAF club facilities. Unless
   otherwise provided herein, the initiation fee is non-refundable. The initiation fee is not a prepaid sum for services; it merely entitles you to buy
   services by paying Dues and other applicable charges. Dues will be in the amount indicated above. You agree to pay Dues in advance, for the first
   and last months (or first and last two weeks, or first and last weeks, as applicable) of Membership. Termination of Membership will be effective only
   if the procedures described herein are followed. In case of a multi-member Membership, termination by one Member may cause the Dues rates
   applicable to the remaining Members to increase to the prevailing individual rates. Failure by any Member to use the Membership will not relieve you
   of your payment obligation regardless of the circumstances, except as provided for below. If any payment of Dues or other charges is not made on
   time, LAF may, but is not obligated to, suspend or terminate your Membership. No refunds shall be made for Membership Dues paid, except as
   specifically provided in this Agreement. Where a refund is due to Member, any initiation fee charged by LAF shall be prorated over the life (term) of
   the Agreement or twelve months, whichever is greater. In no event shall this Agreement require payments or financing or extend for a period that
   would give rise to a retail installment contract or be greater than that permitted under the laws of the Commonwealth of Virginia. LAF makes no
   warranties or representations, express or implied, other than those set forth herein, and your sole and exclusive remedy in the event of any breach
   of this Agreement shall be cancellation of this Agreement. IN NO EVENT SHALL LAF BE LIABLE FOR ANY SPECIAL, INCIDENTAL OR
   CONSEQUENTIAL DAMAGES. In addition to the other Dues, fees and charges provided for in this Agreement, you agree to pay a $10.00 service
   fee for any item or direct charge memo not paid by your financial institution or account when presented for payment by LAF. LAF, in its sole and
   absolute discretion, reserves the right to close any club facility and/or change existing facility rules, regulations, conditions, guidelines, club facilities,
   classes, programs and hours of operation. Classes, club facilities, parking and equipment are available subject to demand and may be crowded at
   peak hours or may be discontinued or times changed if demand fluctuates. Other clubs may be built, acquired, reopened or converted after the date
   of your Agreement which may be excluded from your Membership at our sole discretion. LAF may assign this Agreement, including Member's
   payment obligation herein. An active Membership in good standing may be placed on an inactive status (frozen) pursuant to LAF's current policy.
 ■ Your Membership starts on the START DATE on page 1, which is when your first payment is due. If you or an attached FAQ/SAM member wish to
   access an LAF club before then, you must make your first payment at that time, and if this is a Dues Membership, your first Dues billing will occur
   roughly 30 days after the date of that first payment.
• Subject to applicable law and the other cancellation rights in this Agreement, if your club closes (1) due to events beyond LAF's control (such as
  natural disaster, riot, pandemic, unrest, government action, etc., as determined in LAF's sole but reasonable discretion, an Unforeseen Event), LAF
  may transfer your Agreement to another LAF club within 10 miles of your current club;(2)due to an Unforeseen Event and there is no other lAF club
  within 10 miles of your club that you are entitled to use, LAF may continue to collect all payments due hereunder during such period, and you will not
  be entitled to a refund or a credit or to terminate your Agreement, and any periods of time that you paid for, but during which you could not access your
  club, will be added to the end of your term (or, if this Agreement has an Initial Term that you are still within, the Initial Term will be extended by such
  period); however, if such closure continues for more than 30 days, LAF will then suspend all billing hereunder and resume collecting all payments due
  (at the same rate, and on the same schedule, as before the suspension, unless LAF notifies you otherwise) when your club (or a club within 10 mile of
  your club) opens; or(3)for reasons other than an Unforeseen Event for more than 72 hours and you have paid dues for such period of closure, then,
  upon request, LAF will extend the end of your Agreement time for a period equal to the time of such unavailability (altematively, LAF may transfer your
  Agreement to another U\F club within 10 miles of the closed club).
■ Text Message Consent:
  By providing your mobile phone number on page 1, you authorize LA Fitness and its affiliates to send you text messages, including by automated
  means, at any phone number above for non-marketing purposes related to service updates, your account, and membership (e.g.. if your EFT/CC
  billing has declined).

  INITIALS:                  By initialing here, you authorize LA Fitness and its affiliates and business partners to send you text messages,
  including by automated means, at any phone number above for advertising and marketing purposes, including to receive a link to LA
  Fitness's mobile app allowing you to check-in to clubs and access services purchased, links to guest passes for friends and family, and
  information about promotions and special events offered by us and our business partners.
   Text"STOP" at any time to stop receiving text messages. Consent to text messaging is not a required condition of purchase. Message and data rates
   may apply.




  VA FIT 4/21                                                               Page 3 of 4                                 I^EMBER'S/BUYER'S INITIALS:
